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                                       UNITED STATES BANKRUPTCY COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                      LOS ANGELES DIVISION


In Re. JINZHENG GROUP (USA), LLC                                    §                  Case No. 21-16674
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 05/31/2022                                                       Petition Date: 08/24/2021

Months Pending: 9                                                                        Industry Classification:    6    5   5   2

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/Zhaopu Yang                                                               Zhaopu Yang, Attorney in Fact for Jianqing Yang
Signature of Responsible Party                                               Printed Name of Responsible Party
06/24/2022
Date
                                                                             6840 De Celis Pl. #9, Van Nuys, CA 91406
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

UST Form 11-MOR (12/01/2021)                                        1
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Debtor's Name JINZHENG GROUP (USA), LLC                                                                       Case No. 21-16674

Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/Zhaopu Yang                                                                  Zhaopu Yang
Signature of Responsible Party                                                  Printed Name of Responsible Party

Attorney in Fact for Jianqing Yang,Managing Member                              06/24/2022
Title                                                                           Date




UST Form 11-MOR (12/01/2021)                                                9
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                                                                                                      (888) 374-8267
            PO BOX 911039
            San Diego, CA 92191-1039                                                        axosfiduciaryservices.com



                                                                 Date 5/31/22         Page          1
                                                                 Primary Account                 3235

                          6279

            JINZHENG GROUP (USA) LLC
            Debtor in Possession
            Case 2:21-bk-16674-ER, General
            100 E HUNTINGTON DR STE 207
            ALHAMBRA CA 91801




    Account Title:                     JINZHENG GROUP (USA) LLC
                                       Debtor in Possession
                                       Case 2:21-bk-16674-ER, General

    Commercial Checking                                  Number of Enclosures                  0
    Account Number                                3235   Statement Dates   5/02/22 thru 5/31/22
    Previous Balance                        157,676.26   Days in the statement period         30
        5 Deposits/Credits                    3,695.00   Avg Daily Ledger             159,382.76
        2 Checks/Debits                         575.00   Avg Daily Collected          159,259.59
    Maintenance Fee                                .00
    Interest Paid                                  .00
    Ending Balance                          160,796.26




                                            Deposits and Other Credits
    Date         Description                                             Amount
     5/16        MyDeposit                                                 500.00
     5/16        MyDeposit                                                 645.00
     5/16        MyDeposit                                                 800.00
     5/16        MyDeposit                                                 800.00
     5/16        MyDeposit                                                 950.00



                                            Checks and Withdrawals
    Date         Description                                             Amount
     5/13        Account Analysis Charge                                    75.00-
     5/19        Chargeback 478                                            500.00-




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                                                       Date 5/31/22              Page      2
                                                       Primary Account                  3235




      Commercial Checking                          3235   (Continued)



                                 DAILY BALANCE INFORMATION
      Date               Balance Date               Balance
       5/02           157,676.26   5/16          161,296.26
       5/13           157,601.26   5/19          160,796.26


                               *** END OF STATEMENT ***




MEMBER FDIC                                                                                    2
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                                                               Date 5/31/22             Page        1
                                                               Primary Account      8            3243

                          6280

            JINZHENG GROUP (USA) LLC
            Debtor in Possession
            Case 2:21-bk-16674-ER, Payroll
            100 E HUNTINGTON DR STE 207
            ALHAMBRA CA 91801




    Account Title:                     JINZHENG GROUP (USA) LLC
                                       Debtor in Possession
                                       Case 2:21-bk-16674-ER, Payroll

    Commercial Checking                                  Number of Enclosures                  0
    Account Number                                3243   Statement Dates   5/02/22 thru 5/31/22
    Previous Balance                         44,236.39   Days in the statement period         30
          Deposits/Credits                         .00   Avg Daily Ledger              44,236.39
          Checks/Debits                            .00   Avg Daily Collected           44,236.39
    Maintenance Fee                                .00
    Interest Paid                                  .00
    Ending Balance                           44,236.39




                                          DAILY BALANCE INFORMATION
    Date                        Balance
     5/02                     44,236.39


                                       *** END OF STATEMENT ***




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                                                                Date 5/31/22          Page          1
                                                                Primary Account                  3250

                          6281

            JINZHENG GROUP (USA) LLC
            Debtor in Possession
            Case 2:21-bk-16674-ER, Tax
            100 E HUNTINGTON DR STE 207
            ALHAMBRA CA 91801




    Account Title:                     JINZHENG GROUP (USA) LLC
                                       Debtor in Possession
                                       Case 2:21-bk-16674-ER, Tax

    Commercial Checking                                  Number of Enclosures                  0
    Account Number                                3250   Statement Dates   5/02/22 thru 5/31/22
    Previous Balance                         10,000.00   Days in the statement period         30
          Deposits/Credits                         .00   Avg Daily Ledger              10,000.00
          Checks/Debits                            .00   Avg Daily Collected           10,000.00
    Maintenance Fee                                .00
    Interest Paid                                  .00
    Ending Balance                           10,000.00




                                          DAILY BALANCE INFORMATION
    Date                        Balance
     5/02                     10,000.00


                                       *** END OF STATEMENT ***




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            San Diego, CA 92191-1039


                                                               Date 5/31/22           Page       1
                                                               Primary Account                4694

                    1097

            JINZHENG GROUP (USA) LLC
            Debtor in Possession,
            Case 2:21-bk-16674-ER, JV Account
            100 E HUNTINGTON DR STE 207
            ALHAMBRA CA 91801




    Account Title:                     JINZHENG GROUP (USA) LLC
                                       Debtor in Possession,
                                       Case 2:21-bk-16674-ER, JV Account

    Commercial Checking                                  Number of Enclosures                   0
    Account Number                                4694   Statement Dates   5/02/22 thru   5/31/22
    Previous Balance                               .00   Days in the statement period          30
          Deposits/Credits                         .00   Avg Daily Ledger                     .00
          Checks/Debits                            .00   Avg Daily Collected                  .00
    Maintenance Fee                                .00
    Interest Paid                                  .00
    Ending Balance                                 .00




                                            DAILY BALANCE INFORMATION
    Date                          Balance
     5/02                             .00


                                       *** END OF STATEMENT ***




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